36 F.3d 1091
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward Wesley BOWLES, Plaintiff Appellant,v.W.D. BLANKENSHIP;  P.L. Huffman;  Clarence L. Jackson, Jr.,Defendants Appellees.
    No. 94-6506.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 6, 1994.Decided Sept. 27, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-93-239-R)
      Edward Wesley Bowles, appellant pro se.
      Robert Harkness Herring, Jr., Asst. Atty. Gen., Richmond, VA, for appellees.
      W.D.Va.
      AFFIRMED.
      Before WILKINS, WILLIAMS, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bowles v. Blankenship, No. CA-93-239-R (W.D.Va. Mar. 24, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    